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            EXHIBIT 9
   CaseTweet
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fl        Jenna Ellis ~    0
4111'     @JennaEllisEsq

LIFE UPDATE:

Just touched dow n in t he FREE STATE OF FLORIDA!              ;t
For the first time in my entire life, I'm c hanging residency and voter
registration.

Dear @GovofCO, I just massively upgraded t o @GovRonDeSantis. ~ -,,_

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      0               U                      O                       ~
